Case 1:20-cv-07311-LAK Document 144-1 Filed 03/09/23 Page 1 of 4




            EXHIBIT 1
        Case 1:20-cv-07311-LAK Document 144-1 Filed 03/09/23 Page 2 of 4

                                                                           Page 1
·1
·2· UNITED STATES DISTRICT COURT
·3· SOUTHERN DISTRICT OF NEW YORK
·4· ------------------------------x
·5· E. JEAN CARROLL,
·6· · · · · · · · · Plaintiff,
·7· · · ·-vs-· · · · · · · · · · · · 20 CIV. 7311
·8· DONALD J. TRUMP,· · · · · · · · · (LAK)(JLC)
·9· in his personal capacity,
10· · · · · · · · · Defendant.
11· ------------------------------x
12
13· · · · · · · DEPOSITION OF ROBERT FISHER
14· · · · · · · · · ·December 14, 2022
15
16
17
18
19· Reported by:
20· MARY F. BOWMAN, RPR, CRR
21· JOB NO. 220615
22
23
24
25
        Case 1:20-cv-07311-LAK Document 144-1 Filed 03/09/23 Page 3 of 4

                                                                           Page 42
·1· · · · · · · · · · · R. Fisher
·2· ·the need to get any more awards, so
·3· ·probably around 2000, I stopped submitting
·4· ·them.
·5· · · ·Q.· · Is there an award -- is there an
·6· ·award that you are most proud of or think
·7· ·represents your greatest Success?
·8· · · ·A.· · Well, I mean, a lot of these
·9· ·rewards were for reputation damage, what
10· ·you'd call crisis communications.· And
11· ·people that had damaged reputations, I did
12· ·programs that won awards.
13· · · · · · ·I think the one that I'm note
14· ·proud of is for the brothel industry in
15· ·Nevada.· There would be no brothel industry
16· ·in Nevada if it weren't for me.· There
17· ·wouldn't be one right there if it weren't
18· ·for me.
19· · · · · · ·Back in 1988, when Rock Hudson
20· ·AIDS problem came to fore and everybody --
21· ·there was a panic about AIDS -- the
22· ·brothels were legalized in 1971 in Nevada.
23· ·And 1988 when they -- Rock Hudson thing
24· ·hit, the legislature decided to eliminate
25· ·brothels because they said anyone that goes
        Case 1:20-cv-07311-LAK Document 144-1 Filed 03/09/23 Page 4 of 4

                                                                           Page 43
·1· · · · · · · · · · · R. Fisher
·2· ·in the brothel and has sex goes home to
·3· ·their wife or girlfriend and passes it on.
·4· · · · · · ·So the theory was the brothel was
·5· ·rampant with AIDS and sexually-transmitted
·6· ·diseases, which wasn't true.· You were
·7· ·safer having sex with a woman in the
·8· ·brothel than you were with a woman who you
·9· ·met in church, and that has been
10· ·documented.
11· · · · · · ·So anyway, the brothel industry
12· ·contacted me, long story short, said there
13· ·was already a bill in front of the state
14· ·legislature, they are going to outlaw us
15· ·unless we do something.
16· · · · · · ·And I turned around the
17· ·perception in a matter of two or three
18· ·months to the point where the legislature
19· ·dropped the bill and they are still --
20· ·there is still brothels in Nevada.
21· · · · · · ·So I won several awards for that,
22· ·for a crisis reputation management program.
23· · · · · · ·I had another one for a program
24· ·where some in Marina Del Verde, an upscale
25· ·condo complex all the owners were going to
